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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


ANNE BRYANT,

               Plaintiff,
                                                 Case No: 8:18-cv-1336-T-36CPT
   v.

HASBRO, INC.; JOHN AND JANE DOES
1-12; and ABC CORPORATIONS 1-7,

               Defendants.


               DEFENDANT’S CERTIFICATE OF INTERESTED PERSONS
                   AND CORPORATE DISCLOSURE STATEMENT

        Defendant Hasbro, Inc. (“Defendant” or “Hasbro”), by its undersigned attorneys,

pursuant to this Court’s Interested Persons Order For Civil Cases (ECF No. 4), respectfully

discloses the following:

        1.     The name of each person, attorney, association of persons, firm, law firm,

partnership, and corporation that has or may have an interest in the outcome of this action —

including subsidiaries, conglomerates, affiliates, parent corporations, publicly-traded companies

that own 10% or more of a party’s stock, and all other identifiable legal entities related to any

party in the case:

        Anne Bryant – Plaintiff
        Hasbro, Inc. – Defendant
        Proskauer Rose LLP - Counsel for Defendant

        2.     The name of every other entity whose publicly-traded stock, equity, or debt may

be substantially affected by the outcome of the proceedings:

        Hasbro, Inc. – Defendant
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       3.      The name of every other entity which is likely to be an active participant in the

proceedings, including the debtor and members of the creditors’ committee (or twenty largest

unsecured creditors) in bankruptcy cases:

               None

       4.      The name of each alleged victim (individual or corporate) of civil and criminal

conduct alleged to be wrongful, including every person who may be entitled to restitution:

               Anne Bryant – Plaintiff

       I hereby certify that, except as disclosed above, I am unaware of any actual or potential

conflict of interest involving the district judge and magistrate judge assigned to this case, and

will immediately notify the Court in writing on learning of any such conflict.


Dated: August 23, 2018                              Respectfully submitted,

                                                    /s/ Matthew Triggs
                                                    Matthew Triggs
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                                                    Counsel for Defendant Hasbro, Inc.



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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 23, 2018, the foregoing was electronically filed

with the Clerk of the Court via the CM/ECF system. I also certify that the foregoing document is

being served this day on the pro se Plaintiff via email at annebryantmusic@mac.com, and via

U.S. Mail at the following addresses:


       Ms. Anne Bryant
       2601 Jefferson Circle
       Sarasota, FL 34239

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       Ms. Anne Bryant
       P.O. Box 418
       21 Collaberg Road
       Stony Point, NY 10980


                                            s/ Matthew Triggs
                                            Matthew Triggs




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